Case 2:19-cv-04237-DDP-PJW Document 8 Filed 05/17/19 Page 1 of 2 Page ID #:34

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 NANO FOUNDATION, LTD., et al.                                      2:19−cv−04237−DDP−PJW
                                                  Plaintiff(s),

          v.
 DAVID C. SILVER
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

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 Dated: May 17, 2019                                    By: /s/ Sharon Hall−Brown 213−894−3651
                                                           Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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